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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,
                                                                11-CR-151-A
             -v-

ALEJANDRO NAVARRO-GONZALEZ,
                Defendant.
___________________________________



                                DECISION AND ORDER

             This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

on dispositive motions.



                             PRELIMINARY STATEMENT

             The defendant, Alejandro Navarro-Gonzalez (“the defendant”), is charged

in a Superseding Indictment, along with a number of co-defendants, with having violated

Title 21, U.S.C. § 846 (Count 24) (narcotics conspiracy) and Title 18, U.S.C. § 924(c)(1)

(Count 25) (possession of firearms in furtherance of a drug trafficking crime). Dkt. #87.

Presently pending is the defendant’s omnibus discovery motion. Dkt. #213. The

government filed opposition to the instant motion. Dkt. #243.



                             DISCUSSION AND ANALYSIS

Bill of Particulars

             In response to the defendant’s request for a detailed bill of particulars, the

government states that defendant’s request for particularization should be denied
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because it is nothing more than an attempt by the defendant to preview the

government’s evidence. Indeed, the government further states, “[t]he specific

allegations contained in the indictment, coupled with the voluminous discovery

previously provided, more than adequately apprises each of the defendants of the

nature of the charges pending against them, thereby enabling them to prepare for trial.”

Dkt. #243, p.3. Finally, the government argues that the broad categories of information

for which the defendant is seeking particularization has already been provided through

discovery, can be ascertained from reading the Superseding Indictment or which will be

provided pursuant to the District Court’s standard pretrial order requiring the

government to submit a trial memorandum, witness list, expert summaries, exhibit lists

and Jencks Act material. Id. at p.6.



              The defendant’s request is denied. It has become axiomatic that the

function of a bill of particulars is to apprise a defendant of the essential facts of the

crime for which he has been charged. United States v. Salazar, 485 F.2d 1272, 1277-

78 (2d Cir. 1973); cert. denied, 415 U.S. 985 (1974); Wong Tai v. United States, 273

U.S. 77 (1927). The charges in Counts 24 and 25 of the Superseding Indictment, along

with the discovery materials provided or to be provided by the government as aforesaid,

clearly inform the defendant of the essential facts of the crime charged. As a result, the

defendant is not entitled to, nor is he in need of, the “particulars” being sought for that

purpose.

                      “A bill of particulars should be required only
                      where the charges of the indictment are so
                      general that they do not advise the defendant
                      of the specific acts of which he is accused.”

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                    United States v. Feola, 651 F. Supp. 1068,
                    1132 (S.D.N.Y. 1987), aff’d, 875 F.2d 857 (2d
                    Cir.) (mem.), cert. denied, ____ U.S. ____, 110
                    S.Ct. 110, 107 L.Ed.2d 72 (1989); see also
                    United States v. Leonelli, 428 F. Supp. 880,
                    882 (S.D.N.Y. 1977). “Whether to grant a bill
                    of particulars rests within the sound discretion
                    of the district court.” United States v. Panza,
                    750 F.2d 1141, 1148 (2d Cir. 1984) (citing
                    United States v. Burgin, 621 F.2d 1352, 1358-
                    59 (5th Cir.), cert. denied, 449 U.S. 1015, 101
                    S.Ct. 574, 66 L.Ed.2d 474 (1980)); see also
                    Bortnovsky, 820 F.2d at 574. “Acquisition of
                    evidentiary detail is not the function of the bill
                    of particulars.” Hemphill v. United States, 392
                    F.2d 45, 49 (8th Cir.), cert. denied, 393 U.S.
                    877, 89 S.Ct. 176, 21 L.Ed.2d 149 (1968).

United States v. Torres, 901 F.2d 205, 234 (2d Cir. 1990); see also United States v.

Chen, 378 F.3d 151, 163 (2d Cir. 2004); United States v. Porter, 2007 WL 4103679 (2d

Cir. 2007).



Rule 12(b)(4) Notice

              By his motion, the defendant requests immediate disclosure by the

government of a notice setting forth any evidence which the defendant may be entitled

to discover under Rule 16 which the government intends to use at trial. Dkt. #213, p.7.

In its response, the government specifies that,

                    [s]ince the date of the Indictment, the United
                    States has complied, and intends to continue
                    to comply, with the requirements of Rule 16. To
                    that end, the United States has provided
                    comprehensive voluntary discovery, including
                    surveillance reports, search warrant photos,
                    search warrants, laboratory reports, FBI 302s
                    relating to surveillance and arrest of the

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                     defendant and his co-defendants, transcripts,
                     photographs of narcotics purchases,
                     statements of the co-defendants, redacted
                     statements of some government witnesses,
                     redacted photo array identifications, numerous
                     crime scene photos, crime scene reports,
                     firearm reports, NIBIN ballistic reports,
                     MYSPACE photos, audio and transcripts of jail
                     recordings of co-defendants. Additionally, all
                     physical evidence recovered in connection with
                     this investigation is, and has been, available for
                     inspection by the defendant’s attorney.

Dkt. #243, pp.11-12. Moreover, the government further states, “[t]he government herein

notifies the defendant that it intends to introduce all of this evidence at trial pursuant to

Rule 12(b)(4).” Id. at p.12. Based on the representations made by counsel for the

government, the defendant’s request is denied as moot.



Disclosure Of Evidence Pursuant To Rules 404(b), 608 And 609

              In response to the defendant’s request for the disclosure of 403, 404(b),

608 and 609 evidence, the government states that the defendant is in possession of, or

will be provided with his updated criminal history and he is fully aware of his past

criminal conduct. Dkt. #243, p.16. Furthermore, “the government hereby advises the

defendant that it will seek to introduce all evidence which he was provided, or made

aware of, during the course of litigation regarding 12-CR-157-A in accordance with

Fed.R.Evid. 404(b).” Id. at p.17 (internal citation omitted). In addition, the government

“preliminarily notifies the defendant that it intends to introduce at trial, pursuant to Rule

404(b), all prior criminal conduct acts or wrongs for the purpose of showing proof of a

defendant’s motive, opportunity, intent, preparation, plan, knowledge, identity, and the

absence of mistake or accident.” Id. Finally, the government noted that it “will provide

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the defendants with more definitive notice of its intent to rely on 404(b) evidence when

directed by the trial judge, or during trial if the trial judge excuses pretrial notice on good

cause shown.” Id. at p.18.



               Rule 404(b) of the Federal Rules of Evidence only requires that “the

prosecution . . . provide reasonable notice in advance of trial . . . of the general nature of

any such evidence it intends to introduce at trial” (emphasis added). This has been

done, and as a result, defendant’s request on this issue is denied as being moot.



               The issue of admissibility of such evidence, as raised in the defendant’s

request, pursuant to Rules 404(b), 608 and 609 of the Federal Rules of Evidence is best

left to the determination of the trial judge at the time of trial.



               Rule 608 of the Federal Rules of Evidence does not contain a required

pretrial notice as set forth in Rule 404(b). Therefore, there is no requirement on the part

of the government to make any disclosure of evidence, or its intent to use evidence at

the trial pursuant to Rule 608 at this time. Therefore, defendant’s request in this regard

is denied.



Preservation of Rough Notes

               By this request, the defendant seeks an Order from this Court directing the

government that rough notes of agents be preserved. Dkt. #213, p.8. In its response,




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the government states that it, “has no objection to the request that government agents

retain notes taken during the investigation of this case.” Dkt. #243, p.18.



              Although perhaps unnecessary, based on the representations made by

counsel for the government concerning its acknowledgment of its obligation and its

agreement to instruct the agents to retain and preserve rough notes, the express

admonition of the Court of Appeals for the Second Circuit bears repeating in addressing

this particular request of the defendant wherein the Court stated:

                     [W]e will look with an exceedingly jaundiced
                     eye upon future efforts to justify non-production
                     of a Rule 16 or Jencks Act “statement” by
                     reference to “departmental policy” or
                     “established practice” or anything of the like.
                     There simply is no longer any excuse for
                     official ignorance regarding the mandate of the
                     law. Where, as here, destruction is deliberate,
                     sanctions will normally follow, irrespective of
                     the perpetrator’s motivation, unless the
                     government can bear the heavy burden of
                     demonstrating that no prejudice resulted to the
                     defendant. . . . We emphatically second the
                     district court’s observation that any resulting
                     costs in the form of added shelf space will be
                     more than counterbalanced both by gains in
                     the fairness of trials and also by the shielding
                     of sound prosecutions from unnecessary
                     obstacles to a conviction.

United States v. Buffalino, 576 F.2d 446, 449-50, (2d Cir.), cert. denied, 439 U.S. 928

(1978); see also United States v. Grammatikos, 633 F.2d 1013, 1019-20 (2d Cir. 1980);

United States v. Miranda, 526 F.2d 1319 (2d Cir. 1975), cert. denied, 429 U.S. 821

(1976). Accordingly, the government is hereby directed to maintain and preserve all

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materials that are known by the government to exist, that constitute potential Jencks Act

material in this case.



Brady and Giglio Material

              The government has stated that it believes it is complying with its

obligations to provide potentially exculpatory information under Brady v. Maryland, 373

U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150 (1972) and subsequent cases.

The government has further stated that it is unaware of any Brady material related to

this defendant.    The government has also represented that it will comply with the

requirements of 18 U.S.C. § 3500 with respect to production of statements of witnesses

called to testify at trial. As a result of these representations, the defendant’s request for

such materials, i.e., Brady, Giglio and Jencks is denied, but the government is hereby

directed to comply with the Second Circuit Court of Appeals’ holding in United States v.

Coppa, 267 F.3d 132 (2d Cir. 2001) and United States v. Rodriguez, 496 F.3d 221 (2d

Cir. 2007) by making timely disclosure of those materials to the defendant.



              “[A]s a general rule, Brady and its progeny do not require immediate

disclosure of all exculpatory and impeachment material upon request by a defendant.”

Coppa, at 146. The prosecution is obligated to disclose and turn over Brady material to

the defense “in time for its effective use.” Coppa, at 144. With respect to impeachment

material that does not rise to the level of being Brady material, such as Jencks

statements, the prosecution is not required to disclose and turn over such statements

until after the witness has completed his direct testimony. See 18 U.S.C. § 3500; Rule


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26.2 Fed.R.Crim.P.; In Re United States, 834 F.2d 283 (2d Cir. 1987). However, if the

government has adopted a policy of turning such materials over to the defendant prior

to trial, the government shall comply with that policy; or in the alternative, produce such

materials in accordance with the scheduling order issued by the trial judge.



Joinder

              The defendant seeks to join in any motion filed by any of his co-

defendants. Dkt. #213, p.10. This request is granted with the further directive and

finding that the decision made by this Court as to each of the co-defendant’s requests

contained in the motion in which this defendant joins shall also be deemed to be the

finding and Order of this Court as to the defendant herein.



Motion for Severance

              By this request, defendant Alejandro Navarro-Gonzalez seeks to reserve

his right to seek severance from his co-defendants. A Decision and Order on a motion

to sever is left to the discretion of the District Judge to whom this case is assigned,

District Judge Richard J. Arcara.




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              It is hereby ORDERED pursuant to 28 U.S.C § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

Order in accordance with the above statue, Fed.R.Crim.P. 58(g)(s) and Local Rule 58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules for

the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Report,




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Recommendation and Order), may result in the District Judge's refusal to

consider the objection.



DATED:      July 28, 2014
            Buffalo, New York

                                                   s/ H. Kenneth Schroeder, Jr.
                                                H. KENNETH SCHROEDER, JR.
                                                United States Magistrate Judge




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